Case 1:22-cv-01993-TWP-MJD             Document 26    Filed 06/27/23    Page 1 of 2 PageID #:
                                             184



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


 JOEY KIMBROUGH,                                        Case No. 1:22-cv-01993-TWP-MJD

                 Plaintiff,

         v.

 AMERICAN EXPRESS COMPANY AKA
 AMERICAN EXPRESS NATIONAL BANK

                 Defendant.



                                               /

          ORDER GRANTING DEFENDANT’S UNOPPOSED MOTION
  FOR EXTENSION OF TIME FOR DEFENDANT AMERICAN EXPRESS NATIONAL
   BANK TO RESPOND TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

         This matter is before the Court on Defendant American Express National Bank’s

 (“American Express”) Unopposed Motion for Extension of Time to Respond to Plaintiff’s

 Motion for Summary Judgment (Dkt. 25). The Court has considered the Motion and is fully

 advised in the premises. The Court now finds that the request to allow Defendant American

 Express an extension of time to respond to Plaintiff’s Motion for Summary Judgment should be

 GRANTED.

         It is, therefore, ORDERED and ADJUDGED that Defendant American Express

 National Bank shall have an extension of time to respond to Plaintiff’s Motion for Summary

 Judgment (Dkt. 20) until such time as the Court has ruled on the issue of whether Plaintiff is

 required to arbitrate this dispute.

         SO ORDERED.
        Date: 6/27/2023
Case 1:22-cv-01993-TWP-MJD          Document 26   Filed 06/27/23   Page 2 of 2 PageID #:
                                          185




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